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                                        UNITED STATES BANKRUPTCY COURT
                                         EASTERN DISTRICT OF KENTUCKY
                                               LEXINGTON DIVISION

                 IN RE

                 GIGA ENTERTAINMENT MEDIA, INC.                               CASE NO. 19-51291

                 DEBTOR
                                                            ORDER

                       This matter is before the Court on the Motion for a Determination that Venue is Improper

                and to Transfer Venue filed by Bob Barnard, William Freeman, Patricia Gilchrist, Lyle Gillman,

                Arthur Mellon, Gary Nerlinger, David Shutvet and Riva Wilkins (the “Movants”) [ECF No. 18].

                On September 5, 2019, the debtor objected to forty-six of the Movants’ exhibits for nine general

                reasons (the “Debtor’s Objections”) [ECF No. 64]. Objections to an exhibit must be specific. See

                Fed. R. Evid. 103(a)(1)(B). The Debtor’s Objections lack specificity to allow the Court to decide

                whether to admit or exclude the Movants’ exhibits. Accordingly, it is hereby

                       ORDERED that, on or before 10:00 a.m. on September 13, 2019, the debtor must submit

                proper and specific objections to each of the Movants’ exhibits.




___________________________________________________________________________________________
The affixing of this Court's electronic seal below is proof this document has been signed by the Judge and
electronically entered by the Clerk in the official record of this case.


                                                                 Signed By:
                                                                 Tracey N. Wise
                                                                 Bankruptcy Judge
                                                                 Dated: Thursday, September 12, 2019
                                                                 (tnw)
